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                          UNITED STATES DISTRICT COURT
                             DISTRICT OF CONNECTICUT

                          ELECTRONIC FILING ORDER

      The Court orders that the parties shall file all documents in this case

electronically. The following requirements are imposed:

      1.      Counsel must comply with all applicable Federal Rules of Civil Procedure,

              the District's Local Rules and the requirements set forth in the District's

              CM/ECF Policies and Procedures Manual, and any other rules and

              administrative procedures that implement the District's CM/ECF system.

      2.      Documents filed electronically must be filed in OCR text searchable PDF

              format.

      3.      Unless otherwise ordered, on the business day next following the day on

              which a document is filed electronically, counsel must provide Chambers

              with one paper copy of the following e-filed documents:


      Civil Cases: All pleadings (including briefs and exhibits) supporting or

opposing the following:

      a.      Applications for temporary restraining orders, preliminary
              injunctions or prejudgment remedies;
      b.      Dispositive motions (motions to dismiss or for summary judgment);
      c.      Requested jury instructions;
      d.      Compliance with Pretrial Orders;
      e.      Trial briefs, including proposed findings of fact and conclusions of
              law; and f. Any other filing requested by the court.


                                             /s/ Kari A. Dooley
                                             Kari A. Dooley
                                             United States District Judge
Rev 9/17/18
